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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 IN RE:
 BURTON WIAND RECEIVERSHIP
 CASES PENDING IN THE TAMPA                             Case Nos.: 8:05-cv-1856-T-27MSS
 DIVISION OF THE MIDDLE                                            8:06-~~-609-T-27hms
 DISTRICT OF FLORIDA                                               8:06-~~-61l-T-27hms
                                                                   8:06-~~-618-T-27Aas
                                                                   8:06-~~-631-T-27hass
                                                                   8:06-~~-643-T-27Ams
                                                                   8:06-~~-647-T-27h4ss
                                                                                    as
                                                                   8:06-CV-648-T-2711
                                                                                    ms
                                                                   8:06-~~-649-T-271C
                                                                   8:06-CV-650-T-2711
                                                                                    ISS
                                                                                    ms
                                                                   8:06-~~-651-T-271C
                                                                   8~06-CV-699-T-2711
                                                                                    ISS
                                                                   8:06-~~-703-T-271C
                                                                                    ISS
                                                                   8:06-~~-706-T-27hISS

                                       OMNIBUS ORDER

        BEFORE THE COURT is the global Report and Recommendation of the Magistrate

 Judge (See e.g., Case No. 05-cv-1856, Dkt. 53) recommending that the Motions to Dismiss by

 the respective Defendants in the following cases be granted:

                                             (Dkts. 25,29)
                                             (Dkt. 8)
                                             (Dkt. 9)
                                             (Dkt. 7)
                                             (Dkt. 9)
                                             (Dkt. 10)
                                             (Dkt. 5)
                                             (Dkt. 9)
                                             (Dkt. 9)
                                             (Dkt. 15)
                                             (Dkt. 7)
                                             (Dkt. 12)
                                             (Dkt. 11)
                                             (Dkt. 18)
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 The Receiver has filed a global objection to the Report and Recommendation in each of the

 fourteen cases (See e.g., Case No. 05-cv-1856, Dkt. 54), and Defendants have filed separate

 responses to the Receiver's objection. Upon consideration, the Court adopts the Report and

 Recommendation in part as modified herein and rejects it in part as to the Receiver's claims for

 unjust enrichment.

                                            Background

        The Report and Recommendation contains a cogent description of the relevant factual

 and procedural background. Briefly stated, the perpetrator of an alleged Ponzi scheme, Howard

 Waxenberg, made "returns of principal" to certain investors in the months preceding his death,

 while other investors received no payments during this time. Following Waxenberg's death and

 upon commencement of an action by the Securities and Exchange Commission, Burton W.

 Wiand ("the Receiver") was appointed as receiver for Howard Waxenberg Trading, L.L.C.,

 HKW Trading LLC, HKW Trading Fund I LLC, Downing & Associates Technical Analysis, and

 the Estate of Howard Waxenberg (collectively, "the Receivership Entities"). The Receiver

 commenced the actions now before this Court, seeking to recover the distributions made to

 investors in order to redistribute the recovered amounts pro rata among all of the investors in the

 alleged Ponzi scheme. The Receiver brings claims against the investors pursuant to the Florida

 Uniform Fraudulent Transfer Act, and, in the alternative, for unjust enrichment and

 disgorgement.

                                             Standard

        A court may grant a motion to dismiss "only when the defendant demonstrates beyond

 doubt that the plaintiff can prove no set of facts in support of his claim which would entitle him
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 to relief." Chepstow Ltd. v. Hunt, 381 F.3d 1077, 1080 (1 lth Cir. 2004). The court will accept as

 true all well-pleaded factual allegations and will view them in a light most favorable to the

 nonmoving party. Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). The threshold is

 "exceedingly low" for a complaint to survive a motion to dismiss for failure to state a claim.

 United States v. Baxter Int'l, Inc., 345 F.3d 866, 881 (11th Cir. 2003). Rule 8 of the Federal

 Rules of Civil Procedure requires only that Plaintiff provide a short and plain statement of the

 claim showing that he is entitled to relief. A plaintiff is not required to "allege a specific fact to

 cover every element or allege with precision each element of a claim." Roe v. Aware Woman Ctr.

for Choice, Inc., 253 F.3d 678,683 (1lth Cir. 2001).

                                             Discussion

 1.     Standing

        Defendants initially contend that the Receiver lacks standing to bring an action pursuant

 to the Florida Uniform Fraudulent Transfer Act ("FUFTA), Fla. Stat. $3 726.101 et seq., which

 allows creditors to set aside transfers by a debtor that are found to be fraudulent, as determined

 under statutory criteria. Defendants argue that the true parties in interest are the investors who

 were injured by the Ponzi scheme, not the Receiver who represents the Receivership Entities

 allegedly used by Waxenberg to effect the scheme.

        The inquiry as to whether a particular plaintiff has standing to bring an action is an initial

jurisdictional question based on both constitutional and prudential concerns. To meet the

 constitutional requirements for standing, a plaintiff must show that: (1) it suffered or is

 immediately likely to suffer an injury in fact; (2) a causal connection exists between the injury

 and the alleged conduct; and (3) there is a likelihood that a favorable judicial decision will
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redress the injury. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). Injury in fact

means that the plaintiff has suffered or is likely to suffer an injury that affects the plaintiff in a

 "personal and individual way." Lujan, 504 U.S. at 560-561. In addition, prudential standing

concerns discourage judiciaI review when the plaintiff: (I) asserts the legal rights or interests of

third parties; (2) alleges a generalized grievance; or (3) asserts an interest outside "the zone of

 interests to be protected or regulated by the statute or constitutional guarantee in question."

 Valley Forge Christian Coll. v. Am. United for Separation of Church and State, Inc., 454 U.S.

464,474-75 (1982).

         The seminal case on the question of whether a court-appointed receiver has standing to

 set aside allegedly fraudulent transfers by a perpetrator of a Ponzi scheme is Scholes v. Lehman,

 56 F.3d 750 ( 7 Cir.
                 ~ 1993). In addressing standing, the Seventh Circuit Court of Appeals held

that the transfers made by the perpetrator of the Ponzi scheme "removed assets from the

corporations for an unauthorized purpose and by doing so injured the corporations." Scholes, 56

F.3d at 754. Because the corporation was injured by the diversion of its assets, the receiver,

standing in the shoes of the corporation, had standing to set aside the fraudulent transfers.'

         Numerous courts have found that an equity receiver has standing to maintain fraudulent

transfer claims against the recipients of money acquired in a Ponzi scheme under various states'




          "An analysis of standing does not include an analysis of equitable defenses, such as in pari delicto." OfJicial
Comm. of Unsecured Creditors of PSA, Inc. v. Edwards, 437 F.3d 1145,1149 ( 1 lth Cir. 2006) (quoting OfJicial Comm.
of Unsecured Creditors v. R.F. Lufferty & Co., 267 F.3d 340, 347 (3rd Cir. 2001)). Although Scholes combined the
standing analysis and the question of whether the action was barred by in pari delicto, this Court addresses the
applicability of this equitable doctrine in a later section.
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 Uniform Fraudulent Transfer Acts.'                Other courts have addressed fraudulent transfer claims

 under similar circumstances, without specifically evaluating the receivers' tand ding.^

          In the cases now before the Court, the Receiver has alleged that "the funds paid to the

 Defendants were diverted assets of the Receivership Entities and the other investors" and that the

 "receiver brings this action against the Defendants on behalf of the Receivership Entities and

 their investors to recover the distribution(s)." (See e.g., Case No. 06-cv-609, Dkt. 1, qlql22-23).

 The Court finds that the Receiver has standing to bring a FUFTA claim on behalf of the

 Receivership Entities because the Receivership Entities were injured by the diversion of their

 funds. Scholes, 56 F.3d at 754; Knauer v. Jonathon Roberts Fin. Group, 348 F.3d 230,234 (7th

 Cir. 2003). However, in attempting to recover "on behalf of. . . investors," the Receiver purports




          'See Obermaier v. Arnett, No. 2:02-cv-111,2002 WL 31654535 (M.D. Fla. Nov. 20, 2002) (citing Scholes
 and finding Receiver had standing under FUFTA); Quilling v. Cristell, Case No. 3:04-cv-252, 2006 WL 316981
 (W.D.N.C. Feb. 9,2006) (citing Scholes and finding that receiver had standing under either North Carolina or Florida's
 UFTA); see also Marwil v. Farah, No. 1:03-cv-482,2003 WL 23095657 (S.D. Ind. Dec. 11,2003) (citing Scholes and
 finding receiver had standing to pursue equitable disgorgement claim); O'Halloran v. First Union Nut's Bank of Flu.,
 350 F.3d 1197, 1203-04 (1 lth Cir. 2003) (bankruptcy trustee had standing to bring tort claims against bank in which
 Ponzi funds were deposited because corporation was legally injured by withdrawals from accounts).

           Other cases have found that the receiver has standing by virtue of its authority to act on behalf of creditors
 pursuant to state law, authority granted by the order appointing the receiver, or from the broader language of the relevant
 UFTA. See Moldo v. World Net Develop. Group, Inc., Case No. 98-cv-7475,2000 U.S. Dist. LEXIS 19092 (C.D. Cal.
 Sept. 20,2000) (finding receiver in FTC proceeding had standing as an assignee of creditors under California's UFTA);
 Warjield v. Boone, No. 3:00-cv-272,2001 WL 256172 (N.D. Tex. March 8,2001) (receiver has standing to sue on behalf
 of creditors); Terry v. Dowdell, No. 3:04-cv-67,2006 WL 2360933, (W.D. Va. Aug. 11,2006) (receiver was authorized
 by appointment order to pursue claims on investors' behalf); Stenger v. World Harvest Church, Inc., No. 1:04-cv-151,
 2006 WL 8703 10 *4 n.6 (N.D. Ga. March 3 1,2006) (noting that "and others" language in statute precluded argument
 that suit may be brought only by creditors).

         At least one court has found that a Receiver was unable to recover Ponzi scheme distributions from investors.
 See Johnson v. Studholme, 618 F. Supp. 1347 (D. Colo. 1985). Johnson, however, involved claims for unjust
 enrichment and conversion, not a claim pursuant to UFTA.

            Wa@eld v. Byron, 436 F.3d 55 1 (ShCir. 2006) (affirming summaryjudgment in favor of receiver against two
 transferees under Washington's UFTA); Wing v. Yager,No. I :03-CV-54,2003 WL 23354487 (D. Utah 2003); Quilling
 v. Stark, No. 3:05-cv-1976,2007 WL 415351 (N.D. Tex. Feb. 7,2007).
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 to assert rights of third parties. Accordingly, to the extent the Receiver seeks to recover "on

 behalf of investors," the Receiver lacks standing to do so.

2. Failure to State a Claim under FUFTA

         FUFTA provides that certain transfers made by a debtor to defraud the debtor's present

 and future creditors are void. Specifically, the Act provides:

         (1) A transfer made or obligation incurred by a debtor is fraudulent as to a
         creditor, whether the creditor's claim arose before or after the transfer was made
         or obligation was incurred, if the debtor made the transfer or incurred the
         obligation:

         (a) With actual intent to hinder, delay, or defraud any creditor of the debtor; or

         (b) Without receiving a reasonably equivalent value in exchange for the transfer or
         obligation, and the debtor:

                  1. Was engaged or was about to engage in a business or a transaction for
                  which the remaining assets of the debtor were unreasonably small in
                  relation to the business or transaction; or

                  2. Intended to incur, or believed or reasonably should have believed that he
                  or she would incur, debts beyond his or her ability to pay as they became
                  due. Fla. Stat. $726.105.

 The Magistrate recommends that the Receiver's FUFTA claims be dismissed because the

 Receiver failed to allege that he is a "creditor" under the statutory definition. The Magistrate is



         FUFTA defines "creditor" as "a person who has a claim," and it defines "debtor" as "a

person who is liable on a claim." Fla. Stat. $ 726.102(4),(6). "Claim" is defined as "a right to

payment, whether or not the right is reduced to judgment, liquidated, unliquidated, fixed,

 contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured."

          Although the Magistrate's discussion was premised on standing, this Court analyzes the issue under Fed. R.
Civ. P. 12(b)(6).
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 Fla. Stat. 5 726.102(3). The Florida Supreme Court has noted that the statutory definition of

 "claim" is "broadly constructed" and "may be maintained even though 'contingent' and not yet

 reduced to judgment." Friedman v. Heart Inst. of Port St. Lucie, 863 So. 2d 189, 192 (Fla.

 2003).

          "To utilize the protections of chapter 726 . . . a plaintiff must show that he or she has a

 'claim' which qualifies the party as a 'creditor."' Freeman v. First Union Nat'l Bank, 865 So. 2d

 1272, 1277 (Fla. 2004). As the Magistrate Judge noted, the Illinois fraudulent conveyance statute

 before the court in Scholes v. Lehman allowed creditors as well as "other persons" to set aside

 fraudulent conveyances. Scholes, 56 F.3d at 753. Therefore, the court was not confronted with

 the question of whether the receiver was a "creditor." The Seventh Circuit had occasion to

 address this question two years earlier, however, under Arkansas' Uniform Fraudulent Transfer

 Act. See Southmark Corp. v. Cagan, 999 F.2d 216 (7fi Cir. 1993). The court held that the

 receivership entities were "creditors" because they had "claims" against the debtor -- which was

 also in receivership -- for looting and fraud. Id. at 22L5 The court concluded that: "[als

 'creditors' with 'claims,' therefore, the partners (via their receiver, Cagan) may invoke the rules

 Arkansas has enacted to regulate fraudulent transfers." Id. at 222; see also Dillon v. Axxsys Int'l,

Inc., 185 Fed. App'x 823, 830 (11th Cir. 2006) (by virtue of investors' claim for fraudulent

 inducement to invest in corporation, investors were creditors with a claim).

          Here, the Receiver has not alleged that the Receivership Entities are "creditors," the

nature of the Receiverships Entities' "claim," or who the "debtor" is. Although Rule 12(b)(6)

          The debtor, Equity, was alleged to have incurred a $3.5 million dollar obligationon a mortgage note knowing
it had insufficient assets. The investors in the property, the Diamondhead partnerships, which the receiver was
representing, had "future" claims at the time of the transfer, arising from the fraud and looting by Equity's directors.
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 does not require a defendant to "allege with precision each element of a claim," Roe, 253 F.3d at

 683, facts must be alleged to support the elements of each claim. Particularly where, as here, the

 Receiver purports to bring a statutory claim, the allegations must fairly meet the statutory

 requisites. See Byme v. Nezhat, 26 1 F.3d 1075, 1109 (1 lth Cir. 2001).

          The relevant allegations, which are substantially similar in all of the complaints,6 are:

                  The Defendants received such an inequitable distribution from Waxenberg
          and the Receivership Entities in the few months immediately preceding
          Waxenberg' s demise. Specifically, on or about [date], the Defendant received
          [amount] by check from [Receivership Entity] in connection with its investment.
          To allow the Defendant to keep this entire distribution be inequitable and unjust to
          the investors of the Receivership Entities as a whole. As such, the Receiver seeks
          the return of [amount].

                  The monies Waxenberg and the Receivership Entities transferred or
          distributed to the Defendant were acquired, divested, and/or misappropriated by
          Waxenberg as result of his operation of the Receivership Entities in the above-
          described Ponzi scheme. Thus, the funds paid to the Defendant were diverted
          assets of the Receivership Entities and the other investors.

                Receiver brings this action against the Defendant on behalf of the
          Receivership Entities and their investors to recover the distribution made to the
          Defendant so the Receiver may equitably redistribute the funds collected by the
          Receivership in an appropriate manner.
                                                                                                          s

                                                        ****
                  None of the Receivership Entities received a reasonably equivalent value
          from the Defendant, or anyone acting on behalf of the Defendant, in exchange for
          the transfer. Nor did the Receivership Entities directly or indirectly benefit from


             In the majority of the complaints which are the subject of these motions to dismiss, the Receiver has alleged
 the amount of the distribution, the date, and the ReceivershipEntity that made the distribution, which the Court presumes
 satisfies the heightened pleading requirements of Rule 9(b). See Quilling v. Stark, (2006) (finding that complaint
 satisfied Rule 9(b) where it alleged the amount of the transfers, the date, the persons who made them, and the persons
 who received). However, the first quoted paragraph varies in the complaints filed in Case Nos. 05-cv- 1856,06-cv-699,
 06-cv-703, and 06-cv-706. Those complaints do not include allegations pertaining to the dates of the distributions or
 the Entities that transferred the money. These deficiencies shall be addressed should the Receiver seek to amend these
 comulaints.
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         the transfer. The transfer of monies to the Defendant from Waxenberg and the
         Receivership Entities was made without valid consideration.

                 At all material times, neither Waxenberg nor the Receivership Entities had
         sufficient assets to meet their obligations.

                  Throughout the course of the Ponzi scheme's operation and specifically in
         connection with the transfer at issue here, Waxenberg and the Receivership
         Entities intended to incur and did incur debts beyond the Receivership Entities'
         ability to pay as they became due as a result of the transfer.

                The Receiver is entitled to avoid and recover the transfer of monies from
         Waxenberg and the Receivership Entities to the Defendant as an actual or
         constructively fraudulent conveyance. (See e.g., Case No. 06-cv-609, Dkt. 1, 9[TI[
         21-23,26-29).

         These allegations do not include the statutory requirements of FUFTA, and to some

 extent, are inconsistent therewith. As noted, the Receiver has not alleged that he or the

 Receivership Entities are "creditors," and if so, which entity is a "creditor." Nor does he identify

 any alleged "debtor(s)."         More importantly, the Receiver fails to allege what "claim" the

 unidentified "creditor" possesses against the unidentified "debtor." CJ:Southmark Corp. v.

 Cagan, 999 F.2d 216,222 (7' Cir. 1993).' Accordingly, the Receiver's claims under FUFTA are

 subject to dismissal without prejudice, for failure to state a claim under FUFTA.~

3. Unjust enrichment

         The Receiver has pled an unjust enrichment claim in the alternative, to the extent FUFTA

 does not provide an adequate legal remedy. (See e.g., Case No. 06-cv-609, Dkt. 1, q( 31). In

contrast to other equitable claims, however, an unjust enrichment claim may be maintained even


       ' The Receiver does bring an unjust enrichment claim against the Defendant-transferees. That claim is not,
however, against the debtor-transferor, which is defined by EUFTA as the person who is liable on a claim.

          Defendants have argued that the Receiver cannot recover principal amounts under FUITA. Because this
argument may implicate the FUFTA "good faith" defense, Ha. Stat. 5 726.109,it is not proper for resolution on a motion
to dismiss.
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 though a remedy at law exists. Williams v. Bear Stearns & Co., 725 So. 2d 397, 400 (Fla. 5th

 DCA 1998). To state a claim for unjust enrichment under Florida law, a plaintiff must allege

 facts that, if taken as true, would show: (1) a benefit was conferred upon the defendant; (2) the

 defendant either requested the benefit or knowingly and voluntarily accepted it; (3) a benefit

 flowed to the defendant; and (4) under the circumstances, it would be inequitable for the

 defendant to retain the benefit without paying the value thereof. W.R. Townsend Contracting,

 Inc. v. Jensen Civil Const., Inc., 728 So. 2d 297,303 (Fla. I st DCA 1999).

        In ten of the complaints at issue in these motions to dismiss, the Receiver seeks a return

 of an amount equal to the initial amount invested by the respective defendants. (See Report and

 Recommendation, Appendices A-C). In three cases, the Receiver seeks an amount that includes

 the principal amount and excess profits. Defendants argue that the Receiver may not, under a

 theory of unjust enrichment, recover the principal amounts originally invested. Defendants note

 that even in cases that have authorized FUFTA or unjust enrichment claims by receivers, the

 receivers have sought only amounts in excess of what the investors initially invested. See e.g.,

 Scholes, 56 F.3d at 757-58 (receiver only seeking the "difference between what [investor] put in

 at the beginning and what he had at the end); Wing, 2003 WL 23354487 at *1 (receiver sought

 return of profit); Terry v. June, 432 F. Supp. 2d at 642-43 (if good faith defense is established,

 transferee may retain investment principal, but not fictitious profits); Mays v. Lombard, No.

 3:97-cv-1010, 1998 WL 386159 (N.D. Texas July 2, 1998) (receiver seeking amount transferred

 in excess of invested amount); see also Jacksonville Bulls Football, Ltd. v. Blatt, 535 So. 2d 626,

 629 (Fla. 3d DCA 1989) (applying the Florida Enforcement of Foreign Judgments Act and

 finding that "it is not fraudulent to give the funds to some but not all exiting creditors, even
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 though the effect might be to injure to prejudice an existing creditors who was not chosen to

 receive the debtor's largesse").

          On the other hand, the Receiver contends that it is inequitable for Defendants to retain

 their distributions given that other investors received no distributions. (See e.g., Case No. 06-cv-

 609, Dkt. 1,         34-35). The Receiver alleges that his authority to recover principal amounts

 derives from the SEC's authority in an SEC enforcement action, in which at least one court has

 required investors to disgorge their original investment. See SEC v. George, 426 F.3d 786, 799

 (requiring relief defendants to return all amounts received, including principal, for pro rata

 distribution among all investors in Ponzi scheme).

          The Court concludes that it is premature to address the legal merits of the Receiver's

 unjust enrichment claims on motions to dismiss. The Receiver has complied with the notice

 pleading requirements of Rule 8 of the Federal Rules of Civil Procedure. While the Magistrate's

 conclusions may ultimately prove correct, this Court is reluctant to dismiss a claim that is

 equitable in nature at this stage of the proceeding^.^

 4.       In pari delicto

          Defendants also argue that the Receiver's claims are barred because the Receiver is in

 pari delicto.       This doctrine, in its complete form, "in pari delicto, potior est conditio

 defendentis," provides that where the wrong of one party equals that of the other, the defendant is

 in the stronger position. 22 F1. Jur. Equity $ 76.



            The Court is not persuaded by the arguments of certain Defendants that the Receiver's unjust enrichment claim
 is barred because a valid contract allegedly existed between the parties. At this stage of the proceedings, the contracts
 are disputed (See Global Opposition to MTD at 28) and the copies submitted with the motions to dismiss are not
 executed. Bloom v. Frese, 123 So. 2d 47,49 (Fla. App. 1960) (defendant has burden of proving express contract in
 defense to action for unjust enrichment). This argument is more properly made on a dispositive motion.
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        In Scholes v. Lehman, the Seventh Circuit Court of Appeals observed that the defense of

 in pari delicto "loses its sting" in a fraudulent transfer action brought by a receiver because the

 entity is "cleansed" by the appointment of the receiver. Scholes, 56 F.3d at 754; see also Oficial

 Comm. of Unsecured Creditors of PSA, Inc. v. Edwards, 437 F.3d 1145, (1 lth Cir. 2006) (noting

 that action by bankruptcy trustee to set aside fraudulent conveyances is an exception to the

 general rule that the trustee takes the debtor estate as it is at the commencement of the

 bankruptcy under Scholes). Accordingly, in Scholes, the court found that the receiver was not

 prevented from seeking to set aside fraudulent transfers.

        Florida's Second District Court of Appeals has acknowledged the holding in Scholes:

 "We are inclined to believe that the receiver may also pursue certain claims that would be barred

 by the defense of in pari delicto if pursued by the corporation that was placed in receivership."

 Freeman v. Dean Witter Reynolds, Inc., 865 So. 2d 543,550 (Fla. 2d DCA 2003) (citing Scholes,

 56 F.3d at 754) (hereinafter, "Dean Witter"). The court reconciled Scholes and its progeny with

 other cases in which receivers and bankruptcy trustees have been prohibited from recovering

 damages under common law tort theories:

        [W]e believe it is helpful to differentiate between two types of claims that may
        arise in this context, First, there are actions that the corporation, which has been
        'cleansed' through receivership, may bring directly against the principals or the
        recipients of fraudulent transfers of corporate funds to recover assets rightfully
        belonging to the corporation and taken prior to the receivership. This was the case
        in Scholes and Schact. Distinct from these claims, however, are common law tort
        claims against third parties to recover damages in the name or shoes of the
        corporation for the fraud perpetrated by the corporation's insiders. These are the
        types of claims barred in Feltman. When the entities in receivership do not
        include a corporation that has at least one honest member of the board of directors
        or an innocent stockholder, we do not perceive a method to separate the fraud and
        intentional torts of the insiders from those of the corporation itself. Dean Witter,
        865 So. 2d at 551.
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 Florida courts have accordingly held that in pari delicto bars receivers from pursuing

 independent tort claims for damages, in cases where there is not "at least one honest member[] of

 the board of directors or an innocent stockholder." See also Freeman v. First Union Nat'l Bank,

 865 So. 2d 1272, 1277 (Fla. 2004) (holding that F'UFTA does not create "an independent tort for

 damages," such as liability for aiding and abetting a fraudulent transfer.)

         On the basis of these authorities, the defense of in pari delicto does not bar a FUFTA

 claim by the Receiver, to the extent he amends and repleads his FUFTA claims. By contrast, the

 Receiver's claim for unjust enrichment does not fall squarely into either of the categories

 delineated by Dean Witter. Dean Witter did not, however, limit a receiver's methods of recovery

 to FUFTA actions. An unjust enrichment claim may be properly categorized as an action

 "directly against the principals or the recipients of fraudulent transfers of corporate funds to

 recover assets rightfully belonging to the corporation." Dean Witter, 865 So. 2d at 551.

         In determining the application of in pari delicto to a given case, "a court first determines

 whether plaintiffs guilt is far less in degree than defendant's, so as to make the doctrine

 inapplicable. If' plaintiff's guilt is not far less, the court inquires if applying the doctrine would be

 contrary to public policy." Turner v. Anderson, 704 So. 2d 748, 750 (Fla. 4th DCA 1998)

 (quoting Feld and Sons, Inc. v. Pechner, Dorj%an, Wolfee, Rounick & Cabot, 312 Pa. Super.

 125,458 A.2d 545 (1983)). Confining its analysis to the allegations of the complaints, this Court

 is unable to determine the relative fault of the parties. Therefore, this Court respectfully

 disagrees with the Magistrate and finds that the defense of in pari delicto is not apparent from the

 face of the complaint.
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        Based on the foregoing, the Court finds that the Defendants' motion to dismiss the

 Receiver's unjust enrichment claims should be denied.

 5.     Estate of Waxenberg and Downing & Associates Technical Analysis

        The Magistrate recommended that the claims by the Receiver on behalf of the Estate of

 Howard Waxenberg and Downing & Associates Technical Analysis ("DATA") be dismissed

 with prejudice because these entities are not separate legal entities, but are, in fact, incarnations

 of Howard Waxenberg. Thus, they do not have a separate legal identity capable of "cleansing"

 under the Scholes rationale. The Receiver has not objected to the dismissal of claims on behalf of

 the Estate of Howard Waxenberg, although he does object to the dismissal of DATA.

          The Receiver conceded during the hearing on these motions before the Magistrate Judge

 that DATA is a "doing business as" name for Waxenberg "and of course that would not be

 separate and distinct." (Tr. 20, 108). See Troelstrup v. Index Futures Group, Inc., 130 F.3d 1274,

 1277 (7thCir. 1997) (distinguishing Scholes and holding that receiver of a d/b/a entity could not

 sue transferees for a fraudulent transfer); cJ: Commodity Futures Trading Comm. v. Chilcott

 Portfalio Mgmt., Inc., 713 F.2d 1477, 1482 (pursuant to Fed. R. Civ. P. 17(b), receiver was

 proper party to sue on behalf of a commodities pool, an unincorporated association, that was

 recognized as a separate legal entity). The Receiver now argues that DATA is an unincorporated

 association under Florida law, although no allegations in the complaints support this assertion.

 Peoples Gas Sys., Inc. v. Acme Gas Corp., 689 So. 2d 292,298 n.8 (Fla. 3d DCA 1997) (noting

 that an unicorporated association is generally "created and formed by the voluntary action of a

 number of individuals in associating themselves together under a common name for the

 accomplishment of some lawful purpose"); Prewitt Enter., Inc. v. Org. of Petroleum Exporting

 Countries, 353 F.3d 916,922 n.6 (1lth Cir. 2003) (same).
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        To the extent the Receiver can plead facts, in good faith, showing that DATA was a

 separate legal entity that was injured by disbursements of its funds for unauthorized purposes, the

 Receiver may include DATA as a party-plaintiff.           DATA is therefore dismissed without

 prejudice as a party to this action.      The Estate of Howard Waxenberg is dismissed with

 prejudice.

 6.     Disgorgement

        The Court adopts the Magistrate's finding that disgorgement is a remedy for an unjust

 enrichment action, not an independent cause of action. Therefore, this claim is dismissed with

 prejudice.

                                             Conclusion

        After careful consideration of the Report and Recommendation, the Receiver's

 objections, and Defendants' responses, in conjunction with an independent examination of the

 file, the Court is of the opinion that the Report and Recommendation should be adopted in part as

 modified herein and rejected in part as it relates to the Receiver's claims for unjust enrichment.

         Accordingly, it is

         ORDERED AND ADJUDGED that

         1)     The Report and Recommendations in the following cases are adopted as modified

 herein and rejected in part as they relate to the Receiver's claims for unjust enrichment:

                                                       (Dkt. 53)
                                                       (Dkt. 26)
                                                       (Dkt. 25)
                                                       (Dkt. 27)
                                                       (Dkt. 28)
                                                       (Dkt. 28)
                                                       (Dkt. 3 1)
                                                       (Dkt. 27)
                                                       (Dkt. 3 1)
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                   8106-CV-650-T-27MSS                           (Dkt. 36)
                   8:06-cv-651-T-27MSS                           (Dkt. 27)
                   8106-CV-699-T-27MSS                           (Dkt. 30)
                   8106-CV-703-T-27MSS                           (Dkt. 3 1)

         2)       The Motions to Dismiss in the following cases are GRANTED IN PART and

 DENIED IN PART:

                                                                 (Dkts. 25, 29)"
                                                                 (Dkt. 8)
                                                                 (Dkt. 9)
                                                                 (Dkt. 7)
                                                                 (Dkt. 9)
                                                                 (Dkt. 10)
                                                                 (Dkt. 5)
                                                                 (Dkt. 9)
                                                                 (Dkt. 9)
                                                                 (Dkt. 15)
                                                                 (Dkt. 7)
                                                                 (Dkt. 12)
                                                                 (Dkt. 11)

 Specifically: (a) claims pursuant to FUFTA (Count I) are dismissed without prejudice; (b) claims

 for disgorgement (Count 111) are dismissed with prejudice; (c) the Estate of Howard Waxenberg

 is dismissed with prejudice as a party to these actions; (d) Downing & Associates Technical

 Analysis is dismissed without prejudice as a party to these actions.

          3)       While the Court finds that the motion to dismiss (Dkt. 18) in Case No. 8106-cv-

 706-T-27MSS should be granted in part and denied in part, as set forth in paragraph 2, the Court

 DEFERS RULING on the motion to dismiss, pending a resolution of Defendants' arguments

 regarding lack of personal jurisdiction and improper venue. The Motion to Dismiss (Dkt. 18) is

 referred back to the Magistrate Judge for a Report and Recommendation on Defendants'


          "The Zelda Waxenberg Family Trust filed Dkt. 29 after it was properly served and adopted the arguments of
 Dkt. 25. The arguments in Dkt. 25 relating to service of process are therefore moot. The arguments relating to the fourth
 claim for equitable accounting, which is essentially a discovery request dependent on the success of the underlying
 claims, will be addressed if the Receiver chooses to amend the complaint.
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 arguments regarding lack of personal jurisdiction and improper venue. Pending the issuance of a

 Report and Recommendation on these issues, Case No. 06-cv-706 is STAYED."

          4)        The Receiver is granted leave to amend the complaints in actions addressed by

 this Order, with the exception of Case No. 06-cv-706, within thirty (30) days of the date of this

 Order.
                                                         -'a
          DONE AND ORDERED in Tampa, Florida, on this d7 day of March, 2007.




                                                                   ~ d t e States
                                                                           d      District Judge

 Copies to:
 Counsel of Record




           I ' The Defendants in Case No. 06-cv-706 also argued that the statute of limitations barred the Receiver's claims
 against them. In part because the Receiver has not identified in its Complaint the date of the allegedly fraudulent
 transfers, as noted in note 5, infra, the Magistrate Judge did not address this argument.
